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     Andrew N. Rosenberg (admitted pro hac vice)              Warren A. Usatine, Esq.
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     smitchell@paulweiss.com

     Co-Counsel to the Debtors and                            Co-Counsel to the Debtors and
     Debtors in Possession                                    Debtors in Possession

                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEW JERSEY


 In re:                                                         Chapter 11

 NEW RITE AID, LLC, et al.,                                     Case No. 25-14861 (MBK)

                                      Debtors.1                 (Jointly Administered)



                        TWELFTH NOTICE OF REJECTION OF
             CERTAIN EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES



     PARTIES RECEIVING THIS NOTICE SHOULD LOCATE THEIR NAMES AND
     THEIR CONTRACTS OR LEASES ON SCHEDULE 1 ATTACHED HERETO
     AND READ THE CONTENTS OF THIS NOTICE CAREFULLY




 1     The last four digits of Debtor New Rite Aid, LLC’s tax identification number are 1843. A complete list of the
       Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
       website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid2025. The location
       of Debtor New Rite Aid, LLC’s principal place of business and the Debtors’ service address in these chapter 11
       cases is 200 Newberry Commons, Etters, Pennsylvania 17319.
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         PLEASE TAKE NOTICE that on June 9, 2025, the United States Bankruptcy Court for

 the District of New Jersey (the “Court”) entered a final order on the motion (the “Motion”)2 of

 debtors and debtors in possession (the “Debtors”) (i) authorizing and approving procedures to

 reject executory contracts and unexpired leases and (ii) granting related relief [Docket No. 776]

 (the “Final Procedures Order”).

         PLEASE TAKE FURTHER NOTICE that, pursuant to the Final Procedures Order and

 by this this written notice (this “Rejection Notice”), the Debtors hereby notify you that they have

 determined, in the exercise of their business judgment, that each Contract set forth on Schedule 1

 annexed to the proposed form of order attached hereto as Exhibit 1 is hereby rejected effective as

 of the date (the “Rejection Date”) set forth on Schedule 1, or such other date to which the Debtors

 and the counterparty or counterparties to any such Contract agree. For unexpired leases, the

 rejection effective date shall be the later of (a) the proposed effective date set forth on the Rejection

 Notice; and (b) the date the Debtors relinquish control of the premises by (1) notifying the affected

 landlord in writing, with email being sufficient, of the Debtors’ surrender of the premises and

 turning over keys, key codes, and security codes, if any, to the affected landlord or (2) notifying the

 affected landlord in writing, with email being sufficient, that the keys, key codes, and security

 codes, if any, are not available, but that the landlord may rekey the leased premises.

         PLEASE TAKE FURTHER NOTICE that parties seeking to object to the proposed

 rejection of any of the Contracts must file and serve a written objection so that such objection is filed

 with the Court on the docket of the Debtors’ chapter 11 cases and is actually received by the

 following parties no later than ten (10) calendar days after the date that the Debtors file and served

 this Notice: (a) the Debtors, New Rite Aid, LLC, 200 Newberry Commons, Etters, Pennsylvania


 2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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 17319; (b) co-counsel to the Debtors, Cole Schotz P.C., Court Plaza North, 25 Main Street,

 Hackensack, New Jersey 07601, Attn: Michael D. Sirota, Esq. (msirota@coleschotz.com), Warren

 A. Usatine, Esq. (wusatine@coleschotz.com), Felice Yudkin (fyudkin@coleschotz.com), and Seth

 Van Aalten, Esq. (svanaalten@coleschotz.com), and Paul, Weiss, Rifkind, Wharton & Garrison

 LLP,    1285   6th   Avenue,   New    York,   NY     10019,   Attn:   Andrew    N.   Rosenberg

 (arosenberg@paulweiss.com), Alice Belisle Eaton (aeaton@paulweiss.com), Christopher

 Hopkins (chopkins@paulweiss.com), and Sean A. Mitchell (smitchell@paulweiss.com); (c)

 counsel to the Prepetition ABL Agent and DIP Agent, Choate, Hall & Stewart LLP, Two

 International Place, Boston, MA 02110, Attn: John F. Ventola (jventola@choate.com), Jonathan D.

 Marshall (jmarshall@choate.com), and Mark D. Silva (msilva@choate.com) and Greenberg Traurig,

 LLP, 500 Campus Drive, Suite 400, Florham Park, NJ 07932, Attn: Alan J. Brody

 (brodya@gtlaw.com) and Julia Frost-Davies (julia.frostdavies@gtlaw.com); (d) the Office of the

 United States Trustee for the District of New Jersey, One Newark Center, 1085 Raymond Boulevard,

 suite 2100, Newark, New Jersey 07102, Attn: Jeffrey M. Sponder (Jeffrey.M.Sponder@usdoj.gov)

 and Lauren Bielskie (lauren.bielskie@usdoj.gov); (e) counsel to the applicable Contract

 counterparty; (f) proposed co-counsel to the Committee, Willkie Farr & Gallagher LLP, 787

 Seventh Avenue, New York, NY 10019, Attn: Brett H. Miller (bmiller@willkie.com), Todd M.

 Goren (tgoren@willkie.com), James H. Burbage (jburbage@willkie.come), and Jessica D. Graber

 (jgraber@willkie.com) and Sills Cummis & Gross P.C., One Riverfront Plaza, Newark, NJ 07102,

 Attn:    Andrew      S.     Sherman (asherman@sillscummis.com),         Boris     Mankovetskiy

 (bmankovetskiy@sillscummis.com), and Gregory Kopacz (gkopacz@sillscummis.com); and (g)

 counsel to McKesson Corporation, Sidley Austin LLP, 350 South Grant Avenue, Los Angeles,

 CA 90071, Attn: Anna Gumport (agumport@sidley.com), and Buchalter, A Professional
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 Corporation, 18400 Von Karman Avenue, Suite 800 Irvine, California 92612, Attn: Jeffrey K.

 Garfinkle (jgarfinkle@buchalter.com).

         PLEASE TAKE FURTHER NOTICE that, absent an objection being timely filed, the

 Debtors shall file a Rejection Order under a certificate of no objection. The rejection of each

 Contract listed in this Rejection Notice shall become effective on the applicable Rejection Date

 set forth on Schedule 1 or such other date to which the Debtors and the counterparty or

 counterparties to such Contract agree.3

         PLEASE TAKE FURTHER NOTICE that, if an objection to the rejection of any Contract

 is timely filed and not withdrawn or resolved, the Debtors shall file a notice for a hearing to consider

 the objection for the Contract or Contracts to which such objection relates. If such objection is

 overruled or withdrawn, such Contract will only be deemed rejected upon entry by the Court of a

 consensual form of Rejection Order resolving the objection as between the objecting party and the

 Debtors or, if resolution is not reached and/or the objection is not withdrawn, upon further order of

 the Court and shall be rejected as of the applicable Rejection Date set forth in the Rejection Notice

 or such other date to which the Debtors and the applicable Rejection Counterparty agree, or as

 ordered by the Court.

         PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Final Procedures

 Order, if the Debtors have deposited monies with a Contract counterparty as a security deposit or

 other arrangement, the Contract counterparty may not set off or recoup or otherwise use such




 3   An objection to the rejection of any particular Contract listed in this Rejection Notice shall not constitute an
     objection to the rejection of any other contract or lease listed in this Rejection Notice. Any objection to the
     rejection of any particular Contract listed in this Rejection must state with specificity the Contract to which it is
     directed. For each particular Contract whose rejection is not timely or properly objected to, such rejection will be
     effective in accordance with this Rejection Notice and the Final Procedures Order.
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 monies without further order of the Court, unless the Debtors and the counterparty or

 counterparties to such Contracts otherwise agree.

        PLEASE TAKE FURTHER NOTICE that, absent timely objection, any Personal

 Property of the Debtors that is listed and described on Schedule 1 shall be deemed abandoned as

 of the Rejection Date. With respect to unexpired leases, on the Rejection Date landlords may, in

 their sole discretion and without further notice or order of the Court, utilize and/or dispose of such

 property without notice or liability to the Debtors or third parties and, to the extent applicable, the

 automatic stay will be modified to allow such disposition.


          PLEASE TAKE FURTHER NOTICE that, to the extent you wish to assert a claim

  with respect to rejection of your Contract or Contracts, you must do so on or before the later of

  (a) the deadline for filing proofs of claim established in these chapter 11 cases, if any,

  and, (b) thirty (30) calendar days after the later of (A) the date of entry of the Rejection Order

  approving rejection of the applicable Contract, and (B) the Rejection Date. IF YOU FAIL TO

  TIMELY SUBMIT A PROOF OF CLAIM IN THE APPROPRIATE FORM BY THE

  DEADLINE SET FORTH HEREIN, YOU WILL BE FOREVER BARRED, ESTOPPED, AND

  ENJOINED FROM (1) ASSERTING SUCH CLAIM AGAINST ANY OF THE DEBTORS

  AND THEIR CHAPTER 11 ESTATES, (2) VOTING ON ANY CHAPTER 11 PLAN FILED

  IN THESE CASES ON ACCOUNT OF SUCH CLAIM, AND (3) PARTICIPATING IN ANY

  DISTRIBUTION IN THE DEBTORS’ CHAPTER 11 CASES ON ACCOUNT OF SUCH

  CLAIM.
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Dated: July 2, 2025
                                       /s/ Michael D. Sirota
                                       COLE SCHOTZ P.C.
                                       Michael D. Sirota, Esq.
                                       Warren A. Usatine, Esq.
                                       Felice R. Yudkin, Esq.
                                       Seth Van Aalten, Esq. (admitted pro hac vice)
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                                       svanaalten@coleschotz.com

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                                       aeaton@paulweiss.com
                                       chopkins@paulweiss.com
                                       smitchell@paulweiss.com

                                       Co-Counsel to the Debtors and
                                       Debtors in Possession
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                                    Exhibit 1

                            Proposed Rejection Order
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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     In re:                                                             Chapter 11

     NEW RITE AID, LLC, et al.,                                         Case No. 25-14861 (MBK)

                                         Debtors. 1                     (Jointly Administered)



              TWELFTH ORDER APPROVING THE REJECTION
         OF CERTAIN EXECUTORY CONTRACTS AND/OR UNEXPIRED
 LEASES AND THE ABANDONMENT OF CERTAIN PERSONAL PROPERTY, IF ANY

              The relief set forth on the following pages, numbered three (3) through five (5), is

 ORDERED.




 1      The last four digits of Debtor New Rite Aid, LLC’s tax identification number are 1843. A complete list of the
        Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
        website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid2025. The location
        of Debtor New Rite Aid, LLC’s principal place of business and the Debtors’ service address in these chapter 11
        cases is 200 Newberry Commons, Etters, Pennsylvania 17319.
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 Caption in Compliance with D.N.J. LBR 9004-1(b)
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 -and-

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 Debtors in Possession
Case 25-14861-MBK           Doc 1308 Filed 07/02/25 Entered 07/02/25 14:58:04                          Desc Main
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 Debtors:                  NEW RITE AID, LLC, et al.
 Case No.                  25-14861 (MBK)
 Caption of Order:         Twelfth Order Approving the Rejection of Certain Executory Contracts
                           and/or Unexpired Leases and the Abandonment of Certain Personal
                           Property, If Any

         Upon the Final Order (I) Authorizing and Approving Procedures to Reject Executory

 Contracts and Unexpired Leases and (II) Granting Related Relief [Docket No.776] (the “Final
                       1
 Procedures Order”) of the above-captioned debtors and debtors in possession (collectively, the

 “Debtors”); and the Court having jurisdiction over this matter and the relief requested therein

 pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference to the Bankruptcy

 Court Under Title 11 of the United States District Court for the District of New Jersey, entered

 July 23, 1984, and amended on September 18, 2012 (Simandle, C.J.); and this Court having found

 that venue of this proceeding and the matter in this district is proper pursuant to 28 U.S.C. §§ 1408

 and 1409; and the Debtors having properly filed and served a Rejection Notice on each applicable

 party as set forth in the Rejection Schedule, attached hereto as Schedule 1, in accordance with the

 terms of the Final Procedures Order; and no timely objections having been filed to the Rejection

 of such Contracts; and due and proper notice of the Final Procedures Order and the Rejection

 Notice having been provided to each applicable Rejection Counterparty as set forth in the

 Rejection Schedule and it appearing that no other notice need be provided; and after due

 deliberation and sufficient cause appearing therefor, IT IS HEREBY ORDERED THAT:

         1.       The Contracts listed on the Rejection Schedule attached hereto as Schedule 1 are

 rejected under section 365 of the Bankruptcy Code effective as of the later of the Rejection Date

 listed on Schedule 1 or such other date as the Debtors and the applicable Rejection Counterparty

 agree; provided, that the Rejection Date for a rejection of a lease of nonresidential real property



 1   Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Final Procedures
     Order.
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 Debtors:                NEW RITE AID, LLC, et al.
 Case No.                25-14861 (MBK)
 Caption of Order:       Twelfth Order Approving the Rejection of Certain Executory Contracts
                         and/or Unexpired Leases and the Abandonment of Certain Personal
                         Property, If Any

 shall not occur until the later of (i) the Rejection Date set forth on Schedule 1 and (ii) the date the

 Debtors relinquish control of the premises by (A) notifying the affected landlord in writing, with

 email being sufficient, of the Debtors’ surrender of the premises and turning over keys, key codes,

 and security codes, if any, to the affected landlord or (B) notifying the affected landlord in writing,

 with email being sufficient, of the Debtors’ surrender of the premises that the keys, key codes, and

 security codes, if any, are not available, but the landlord may rekey the leased premises.

         2.      The Debtors are authorized, but not directed, at any time on or before the applicable

 Rejection Date, to remove or abandon any of the Debtors’ Personal Property that may be located

 on the Debtors’ leased premises that are subject to a rejected Contract; provided, however, that

 nothing shall modify any requirement under applicable law with respect to the removal of any

 hazardous materials as defined under the applicable law from any of the Debtors’ leased premises,

 to the extent the Debtors seek to abandon Personal Property that contains “personally identifiable

 information,” as that term is defined in section 101(41A) of the Bankruptcy Code (the “PII”), the

 Debtors shall remove the PII from such Personal Property before abandonment, and (iii) the Debtors

 shall not abandon any medications or medicines. The property will be deemed abandoned pursuant

 to section 554 of the Bankruptcy Code, as is, effective as of the Rejection Date. For the avoidance

 of doubt, and absent any sustained objection as it relates to property at a particular premises, any and

 all property located on the Debtors’ leased premises on the Rejection Date of the applicable lease of

 nonresidential real property shall be deemed abandoned pursuant to section 554 of the Bankruptcy

 Code, as is, effective as of the Rejection Date. Landlords may, in their sole discretion and without

 further notice or order of this Court, utilize and/or dispose of such property without notice or liability
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 Debtors:               NEW RITE AID, LLC, et al.
 Case No.               25-14861 (MBK)
 Caption of Order:      Twelfth Order Approving the Rejection of Certain Executory Contracts
                        and/or Unexpired Leases and the Abandonment of Certain Personal
                        Property, If Any

 to the Debtors or third parties and, to the extent applicable, the automatic stay is modified to allow

 such disposition.

        3.      Claims arising out of the rejection of Contracts, if any, must be filed on or before

 the later of (i) the deadline for filing proofs of claim established in these chapter 11 cases, if any,

 and (ii) thirty (30) calendar days after the later of (a) the date of entry of this Order approving

 rejection of the applicable Contract, and (b) the Rejection Date. If no proof of claim is timely filed,

 such claimant shall be forever barred from asserting a claim for damages arising from the rejection

 and from participating in any distributions on such a claim that may be made in connection with

 these chapter 11 cases.

        4.      The Debtors are authorized to take all actions necessary to effectuate the relief

 granted in this Order and the rejection without further order from this Court.

        5.      This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.
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                                                                                Schedule 1

                                                                          Rejected Contracts1, 2

                                                                                                                                        Rejection
            Non-Debtor               Counterparty            Contract                                                                                     Abandoned
#                                                                              Debtor Party         Store #     Location Address        Effective
           Counterparty                Address              Description                                                                                Personal Property
                                                                                                                                          Date

                                 ATTN: ROBERT
                                 PEOPLES, 2750
                                 WRANGLE HILL                                RITE AID OF                      400 Peoples Plaza,                      MISCELLANEOUS
        GLASGOW SHOP             ROAD, BEAR, DE,           Unexpired         DELAWARE,                        Newark, DE, 19702-                      FF&E AND/OR
1       CTR, INC                 19701                     Storage Lease     INC.                    1751A    4797                       6/30/2025    RETAIL FIXTURES

                                 C/O CENTURION
                                 REALTY LLC, 512
                                 7TH AVE, 37TH
                                 FLOOR, NEW
                                 YORK, NY 10018

                                          -and-

                                 240 WEST 40TH ST,                           RITE AID OF                      9200 Frankford
        GRANT                    NEW YORK, NY              Unexpired         PENNSYLVANIA,                    Avenue, Philadelphia,
2       ACQUISITION LP           10018                     Ground Lease      INC.                    7834A    PA, 19114-0000             6/30/2025

                                 C/O ROSENTHAL
                                 PROPERTIES, LLC,                                                             7 Westminster
                                 1945 OLD                                                                     Shopping Center,
        WESTMINSTER              GALLOWS RD, STE           Unexpired         RITE AID OF                      Rite Aid Liquors,                       MISCELLANEOUS
        GRANITE MAIN             300, VIENNA, VA,          License           MARYLAND,                        Westminster, MD,                        FF&E AND/OR
3       LLC                      22182                     Agreement         INC.                   6830A     21157-4872                 6/30/2025    RETAIL FIXTURES


    1    For the avoidance of doubt, the Contracts referenced herein include any ancillary documents, including guaranties or assignments thereof, and any amendments,
         modifications, subleases, or termination agreements related thereto.
    2    The inclusion of a Contract on this list does not constitute an admission as to the executory or non-executory nature of the Contract, or as to the existence or
         validity of any claims held by the counterparty or counterparties to such Contract.
